Case 1:21-cv-01247-CFC Document 34 Filed 12/08/22 Page 1 of 2 PageID #: 590




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

NIMITZ TECHNOLOGIES LLC,

           Plaintiff,
                                          C.A. No. 1:21-cv-01247-CFC
                        v.

CNET MEDIA, INC.,

           Defendant.

NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:21-cv-01362-CFC

                        v.

BUZZFEED, Inc.,

           Defendant.


NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:21-cv-01855-CFC

                        v.

IMAGINE LEARNING LLC,

           Defendant.


NIMITZ TECHNOLOGIES LLC,

           Plaintiff,                     Case No. 1:22-cv-00413-CFC

                        v.

BLOOMBERG L.P.,

           Defendant.
 Case 1:21-cv-01247-CFC Document 34 Filed 12/08/22 Page 2 of 2 PageID #: 591




                         MOTION TO WITHDRAW THE
                 COURT’S MEMORANDUM OF NOVEMBER 30, 2022

       Plaintiff Nimitz Technologies LLC hereby respectfully moves the Court to withdraw its

Memorandum issued November 30, 2022 in the above captioned cases on the grounds that the

Memorandum violates an Order the United States Court of Appeals for the Federal Circuit, and

the Memorandum denies Plaintiff and its counsel their rights to Due Process under the Fifth

Amendment to the Constitution of the United States because Plaintiff and counsel were never

given notice or allowed to address the facts and law argued by the Court in the Memorandum.

       The basis for the Motion is detailed in Plaintiff’s Memorandum being concurrently filed.

Dated: December 8, 2022



                                                   /s/ George Pazuniak
                                                   George Pazuniak (#478)
                                                   824 North Market Street, Suite 10001A
                                                   Wilmington, DE 19801
                                                   Direct: 207-359-8576
                                                   gp@del-iplaw.com

                                                   Attorneys for Plaintiffs




                                               1
